Dear Ms. Rosenberg:
We are in receipt of your request for an Attorney General's opinion with regard to the recall petition directed toward William O. Morris, School Board Member, District 4, Parish of Cameron. The registrar of voters certified the recall petition on June 5, 2001 and has presented same to the governor.  Therefore, you have requested an opinion as to whether the governor should issue a proclamation ordering an election to be held for the purpose of voting on the question of recall for the office of School Board Member, District 4, held by William O. Morris.
With regard to recall petitions, LSA-R.S. 18:1300.3(C) requires the registrar to send the original petition to the governor immediately after certification.  Section 1300.7 requires the governor to issue a proclamation, within fifteen days after the petition is presented to him, to order an election to be held for the purpose of voting on the question of recall of the officer if the required number of registered voters signthe petition for recall.
LSA-R.S. 18:1300.3 requires the registrar to certify to (1) the number of names on the petition; (2)  the number of qualified electors of the voting area within the parish whose signatures appear on the petition; (3) the total number of electors of the voting area within the parish as of the date of the filing of the petition with the secretary of state; and to indicate on the petition the number of names who are not electors of the voting area.
The registrar has certified that the School District 4 has a total of 1103 registered voters and that the recall petition was found to contain the signatures of 424 of the qualified voters from this district.  The total number of names appearing on the petition is 434, of which 8 names were removed after a request was made to the registrar.
LSA-R.S. 18:1300.2(B) requires a recall petition to be "[s]igned by a number of the electors of the voting area as will in number equal not less than thirty-three and one-third percent of the number of the total electors of the voting area wherein and for which a recall election is petitioned; however, where fewer than one thousand qualified electors reside within the voting area, the petition shall be signed by not less than forty percent of said electors."  The registrar certified that the total number of voters registered in the voting area for the office of School Board District 4, Cameron Parish, is 1103.  Therefore, in calculating thirty-three and one-third percent of 1103, a total of 368 valid signatures is required on the recall petition for the governor to issue a proclamation for a special election.
The registrar certified a total of 424 valid signatures on the recall petition, which total does meet the required thirty-three and one-third percent.  Therefore, it is the opinion of this office that the validated signatures on the recall petition are sufficient in number for the governor to issue a proclamation ordering a special election on the question of recall for William O. Morris, School Board Member, District 4, Parish of Cameron. The special election shall be held on the next available date specified in R.S. 18:402(F), which is October 20, 2001.
If we can be of further assistance in this matter, please do not hesitate to contact our office.
Very truly yours,
                              RICHARD P. IEYOUB ATTORNEY GENERAL
                              ____________________________ ANGIE ROGERS LAPLACE Assistant Attorney General
RPI/ARL:mjb
Enclosures
arl/opinions/2001/01-240
  cc:  Hon. William O. Morris Registrar, Ruby A. Kelley Hon. W. Fox McKeithen Hon. Suzanne H. Terrell